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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                               §
BETH CHANEY MACNEILL,                          §
                                               §
         Plaintiff,                            §
                                               §
v.                                             §           Civil Action No. 4:14-cv-242-O
                                               §
NIRMAL JAYASEELAN, M.D. et al.,                §
                                               §
         Defendants.                           §
                                               §
                                               §

                                            ORDER

         Before the Court is Plaintiff’s Motion to Dismiss Defendant Nirmal Jayaseelan, M.D. with

Prejudice (ECF No. 143), filed April 2, 2015. Plaintiff requests that the above-styled case be

dismissed with prejudice against Defendant Nirmal Jayaseelan, M.D. Having considered the motion,

the Court finds that it should be and is hereby GRANTED.

         Accordingly, it is ORDERED that all claims against Defendant Nirmal S. Jayaseelan, M.D.

are DISMISSED with prejudice.

         SO ORDERED on this 3rd day of April, 2015.




                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
